Case 2:20-cv-00406-SSS-JC Document 117-1 Filed 08/31/23 Page 1 of 5 Page ID #:1831


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   7
     Attorneys for Defendants
   8
   9                                      UNITED STATES DISTRICT COURT
  10                                CENTRAL DISTRICT OF CALIFORNIA
  11
       FRANCESCA GREGORINI,                                Case No. 2:20-cv-00406-SSS-JC
  12
                                          Plaintiff,       DECLARATION OF CYDNEY
  13                                                       SWOFFORD FREEMAN IN
                vs.                                        SUPPORT OF DEFENDANTS’
  14                                                       MOTION TO COMPEL
     APPLE INC., a California corporation;                 PLAINTIFF’S FURTHER
  15 M. NIGHT SHYAMALAN, an                                PRODUCTION OF DOCUMENTS
     individual, BLINDING EDGE
  16 PICTURES, INC., a Pennsylvania
     corporation; UNCLE GEORGE                             Date: September 26, 2023
  17 PRODUCTIONS, a Pennsylvania                           Time: 9:30 a.m.
     corporate; ESCAPE ARTISTS LLC, a                      Courtroom: 750
  18 California limited liability company;
     DOLPHIN BLACK PRODUCTIONS, a
  19 California corporation; TONY
     BASGALLOP, an individual; ASHWIN
  20 RAJAN, an individual; JASON
     BLUMENTHAL, an individual; TODD
  21 BLACK, an individual; STEVE TISCH,
     an individual; and DOES 1-10, inclusive,
  22
                            Defendants.
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  28
                                                                             DAVIS WRIGHT TREMAINE LLP
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Case 2:20-cv-00406-SSS-JC Document 117-1 Filed 08/31/23 Page 2 of 5 Page ID #:1832


   1                   DECLARATION OF CYDNEY SWOFFORD FREEMAN
   2 I, Cydney Swofford Freeman, declare as follows:
   3            1.        I am an attorney admitted to practice before all courts of the State of
   4 California and before this Court. I am a counsel in the law firm of Davis Wright
   5 Tremaine LLP (“DWT”), and I am one of the attorneys representing Defendants
   6 Uncle George Productions, LLC (“Uncle George”) and Blinding Edge Pictures, Inc.
   7 (“Blinding Edge”) (together, “Defendants”) in this matter. The facts stated below
   8 are based on my own personal knowledge.
   9            2.        Attached as Exhibit 1 is a true and correct copy of plaintiff Francesca
  10 Gregorini’s (“Plaintiff”) initial disclosures, which she served on April 8, 2020.
  11            3.        Attached as Exhibit 2 is a true and correct copy of Uncle George’s
  12 first set of requests for production to Plaintiff, served on September 22, 2022.
  13            4.        Plaintiff’s counsel David Erikson has been hospitalized portions of this
  14 year due to a battle with cancer. In light of his health and a death in the family of
  15 another of Plaintiff’s attorneys, Defendants’ counsel granted several extensions for
  16 Plaintiff’s written discovery responses, ultimately giving Plaintiff six months to
  17 prepare and serve her written responses. Plaintiff provided her written discovery
  18 responses on March 13 and 14, 2023. Attached as Exhibit 3 is a true and correct
  19 copy of Plaintiff’s responses to Uncle George’s first set of requests for production,
  20 served on March 13, 2023.
  21            5.        During a May 17, 2023 meet and confer between Plaintiff’s counsel
  22 and my co-counsel Nicolas Jampol and Meenakshi Krishnan, Plaintiff’s counsel
  23 stated that the first of Plaintiff’s productions would be served by May 31. No
  24 document production was made by that date. Attached as Exhibit 4 is a true and
  25 correct copy of a May 17, 2023 email from Mr. Jampol to Plaintiff’s counsel
  26 memorializing the parties’ agreement that Plaintiff would produce documents by
  27 May 31.
  28
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Case 2:20-cv-00406-SSS-JC Document 117-1 Filed 08/31/23 Page 3 of 5 Page ID #:1833


   1            6.        On June 21, 2023, Ms. Krishnan and I participated in a meet and
   2 confer with Plaintiff’s counsel regarding other discovery disputes not at issue in this
   3 Motion. During that meet and confer, Plaintiff’s counsel stated that she was
   4 “trying” for an initial document production the following week.
   5            7.        A week later, on June 27, 2023, Ms. Krishnan and I participated in
   6 another meet and confer with Plaintiff’s counsel. During that meet and confer,
   7 Plaintiff’s counsel stated that they were “trying” to produce documents that week
   8 but “not promising,” and that Plaintiff definitely would produce by the “next week.”
   9            8.        On June 30, 2023, I emailed Plaintiff’s counsel, reminding her of the
  10 parties’ meet and confer discussions and asking if Plaintiff would make her
  11 production that week. In her response, Plaintiff’s counsel promised to produce
  12 documents by the following week. Attached as Exhibit 5 is a true and correct copy
  13 of my June 30 correspondence with Plaintiff’s counsel.
  14            9.        On July 7, 2023, Plaintiff made her first production, which contained
  15 only 57 documents. In the production’s accompanying cover email, Plaintiff’s
  16 counsel stated, “This is part of a rolling production. Subsequent phases will be
  17 produced next week.” No document productions were made the following week.
  18 Exhibit 6 includes a true and correct copy of Plaintiff’s counsel’s July 7 email, with
  19 the production link redacted.
  20            10.       On July 21, 2023, I emailed Plaintiff’s counsel to again request that
  21 Plaintiff produce the promised documents. Exhibit 6 includes a true and correct
  22 copy of my July 21 email to Plaintiff’s counsel.
  23            11.       That same day, by separate cover, I raised that Plaintiff’s sole
  24 production contained several inappropriately truncated email chains and asked that
  25 they be re-produced by July 28, 2023.
  26            12.       On July 25, 2023, having received no response, I asked Plaintiff’s
  27 counsel to “please provide a schedule for Plaintiff’s remaining document
  28 productions in response to Uncle George’s first set of RFPs by Friday 7/28.” My
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Case 2:20-cv-00406-SSS-JC Document 117-1 Filed 08/31/23 Page 4 of 5 Page ID #:1834


   1 email also stated that if Plaintiff’s counsel “[did] not provide a schedule that
   2 accounts for substantive completion in the next two weeks, Defendants will be
   3 forced to resume the process of a motion to compel next week.” Exhibit 7 includes
   4 a true and correct copy of my July 25, 2023 email to Plaintiff’s counsel.
   5            13.       On July 28, 2023, Plaintiff served her second document production of
   6 88 documents. In the production’s accompanying cover email, Plaintiff’s counsel
   7 also stated that “[w]e anticipate at least one more phase in this production and that
   8 those documents will be produced next week [by August 4].” Plaintiff’s counsel
   9 also stated, “We are following up on the email chains you cite as incomplete in your
  10 July 21 email and will get back to you shortly as to those emails. We will ensure
  11 that all responsive email chains are produced in full.” Attached as Exhibit 8 is a
  12 true and correct copy of Plaintiff’s counsel’s July 28 email, with the production link
  13 redacted.
  14            14.       On August 3, 2023, still not having received additional document
  15 productions, an anticipated production schedule, or re-productions of the deficient
  16 documents from Plaintiff’s July 7 production, I once again emailed Plaintiff’s
  17 counsel to confirm that Plaintiff’s document production would be substantially
  18 complete by Friday, August 4 given prior representations, or else Defendants would
  19 move forward with a motion to compel. Plaintiff’s counsel replied on August 4,
  20 only to state that she had been “out of pocket for the past two days and [was]
  21 working on other deadlines” that afternoon; while she stated that counsel was
  22 “working diligently with our client on the discovery matters and will continue to do
  23 so,” she provided no updated production timeline. Exhibit 7 includes a true and
  24 correct copy of my August 3-August 4, 2023 correspondence with Plaintiff’s
  25 counsel.
  26            15.       On August 8, 2023, pursuant to Local Rule 37-1, I sent Plaintiff’s
  27 counsel a meet and confer letter identifying concerns with Plaintiff’s failure to
  28 produce documents and re-produce deficient documents, and requesting a
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Case 2:20-cv-00406-SSS-JC Document 117-1 Filed 08/31/23 Page 5 of 5 Page ID #:1835


   1 conference with counsel. The letter also addressed certain issues with Plaintiff’s
   2 discovery responses that since have been resolved. Attached as Exhibit 9 is a true
   3 and correct copy of my August 8 meet and confer letter to Plaintiff’s counsel.
   4            16.        On August 18, 2023, Ms. Krishnan and I participated in a Local Rule
   5 37-1 prefiling conference with Plaintiff’s counsel. During that conference,
   6 Plaintiff’s counsel stated Plaintiff now needed a full additional month, to September
   7 18, 2023, to substantially complete her productions, including re-producing the
   8 deficient documents. Plaintiff’s counsel further represented that her production
   9 would include any documents identified in her initial disclosures, and Defendants
  10 agreed not to serve requests for production specific to Plaintiff’s initial disclosures
  11 based on that representation.
  12            17.       As of August 23, 2023, Plaintiff has not made any additional document
  13 productions.
  14            I declare under penalty of perjury under the laws of the United States of
  15 America that the foregoing is true and correct, and that this Declaration was
  16 executed on the 23rd day of August 2023, in Los Angeles, California.
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  19                                                          Cydney Swofford Freeman
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                                                                            DAVIS WRIGHT TREMAINE LLP
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